               Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 1 of 63 Page ID
                                                #:154294

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   . ~
   ".                       Attorneys for the MGA Parties For Phase Two
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   ct ~ I: :        12
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ti 1f ID 0 Z
                                                      UNITED STATES DISTRICT COURT
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                                                  CENTRAL DISTRICT OF CALIFORNIA
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                             CARTER BRYANT, an individual          ) Case No. CV 04-9049 SGL (RNBx)
                    16
   æ                                                               )
   ~
   ~                                     Plaintiff,                ) Consolidated with
   .~               17
   "                                                               ) Case No. 04-09059
                    18
                             v.                                    ) Case No. 05-02727
                                                                   )
                    19       MATTEL, INC., a Delaware              ) DISCOVERY MATTER
                             Corporation                           )
                    20                                             ) DECLARATION OF AMMAN KHAN
                                         Defendant.                ) IN SUPPORT OF MGA AND
                    21                                             ) LARIAN'S OPPOSITION TO
                                                                   ) MATTEL'S 2/10/09 MOTION TO
                    22
                                                                   ) COMPEL RESPONSES TO
                    ì"
                             AND CONSOLIDATED ACTIONS              ) INTERROGATORIES AND
                    _.J
                                                                   ) PRODUCTION OF DOCUMENTS
                    24                                             )
                                                                   ) (MGA and Larian's Opposition to
                    25                                             ) MatteI's 2/10/09 Motion to Compel
                                                                   ) Responses to Interrogatories and
                    26                                             ) Production of Documents; Opposition
                                                                   ) to Separate Statement; Declaration of
                    27                                             ) Brian Wing filed concurrently
                                                                   ) herewith)
                    28
                                                                   )
                667357 v1



                            DECLARATION OF AMMAN KHAN IN SUPPORT OF MGAAND LARIAN'S OPPOSITION TO MATTEL'S
                            2/10/09 MOTION TO COMPEL RESPONSES TO INTERROGATORIES & PRODUCTION OF DOCUMENTS
                     Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 2 of 63 Page ID
                                                      #:154295

                                                                          DECLARATION OF AMMAN KHAN
                           2 I, Amman Khan, hereby declare as follows:
                           3 I. I am an attorney at law, duly licensed to practice before all Courts of the

                           4 State of           California, and am a partner of                            the law firm of   Glaser, Weil, Fink, Jacobs &
                           5 Shapiro, LLP, attorneys of                           record herein for MGA Entertainment, Inc., Isaac Larian,
                           6 MGA Entertainment (HK) Limited, and MGAE de Mexico S.R.L. de C.V. (the
                           7 "MGA Parties"). I have personal knowledge of all facts set forth in this Declaration
                           8 and, if called as a witness, I could and would competently testify as follows:
                           9 2. Attached hereto as Exhibit "A" is a true and correct copy of fonner
    n.
    ..
    ..                    10 Discovery Master Infante's Order Granting MGA's Motion to Quash Larry
    o
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    .. ~                  11 McFarland's Deposition Subpoena or for Protective Order dated April 29, 2008.
    ".
    U) ~ a
    cn ~ I: :             12 3. Attached hereto as Exhibit "B" is a true and correct copy offonner
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IJ II lD 0 Z
~ ~ ~ ~ ~                 13 Discovery Master Infante's Order Denying MatteI's Motion to Compel Production of
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                          14 Documents by MGA in Response to MatteI's Fifth Set of                                             Requests for Documents
    ~ ~ ž ~

    ~- .0 .               15 and Things; Denying Request for Sanctions dated April 14, 2008.
    _ N
    ~ 0
    ~-                    16 4. Attached hereto as Exhibit "c" is a true and correct copy of fonner
    æ
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    ~
    .~                    17 Discovery Master Infante's Order Denying MatteI's Motion to Compel Additional
    "
                          18 Deposition Testimony of                              Veronica Marlow dated April                22, 2008.
                          19 5. Attached hereto as Exhibit "D" is a true and correct copy of                                                  former
                          20 Discovery Master Infante's Order Granting in Part and Denying in Part MGA Parties'
                          21 Motion to Quash Subpoenas; Granting in Part and Denying in Part Mattel' s Counter
                          22 Motion to Compel dated May 7, 2008.
                          23 6. Attached hereto as Exhibit "E" is a true and correct copy of fonner

                          24 Discovery Master Infante's Order Denying Mattel' s Motion to Compel Further
                          25 Deposition of                 Margaret Hatch-Leahy; Denying Request for Sanctions dated April 28,
                          26 2008.

                          27 7. Attached hereto as Exhibit "F" is a true and correct copy of a portion of

                          28 the February 11, 2009 Hearing Transcript.
                      667357 v1
                                                                                                                 1

                                  DECLARATION OF AMMAN KHAN IN SUPPORT OF MGAAND LARIAN'S OPPOSITION TO MATTEL'S
                                  2/10/09 MOTION TO COMPEL RESPONSES TO INTERROGATORIES & PRODUCTION OF DOCUMENTS
                     Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 3 of 63 Page ID
                                                      #:154296

                                            8. Attached hereto as Exhibit "G" is a true and correct copy of                                     the Phase 1

                           2 August 26,2008 Phase B Verdict Form As Given.

                           3                9.            Attached hereto as Exhibit "H" is a true and correct copy of a letter from
                           4 MatteI's counsel, Jon Corey, Esq. to myself, dated February 9, 2009.

                           5 I declare under penalty of                                      perjury, pursuant to the laws of          the State of
                           6 California, that the foregoing is true and correct.

                           7                Executed this 18th day of February, 2009, at/ros Angeles, California.
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                                  DECLARATION OF AMMAN KHAN IN SUPPORT OF MGA AND LARIAN'S OPPOSITION TO MATTEL'S
                                  2/10/09 MOTION TO COMPEL RESPONSES TO INTERROGATORIES & PRODUCTION OF DOCUMENTS
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 4 of 63 Page ID
                                 #:154297




                               EXHIBIT A
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 5 of 63 Page ID
                                 #:154298




      1 Hon. Ed A. Inte (Ret)
          JAMS
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          Suite 1500
      3 San Fraciso, Caorna 94111
          Telephone: (415) 774-2611
      4 Facse: (415) 982-5287

      5

      6

      7

      8                             UN STATES DISTRCT COURT
      9                            CENTR DISTRCT OF CALIFORNIA
     10                                     EASTERN DNISION
     11

     12                                                  CASE NO. CV 04-09049 SGL (Rx)
          CARTER BRYAN, an individual,                   JAMS Reference No. 1100049530
     13
                        Planti
     14                                                  Consolidated with
                 v.                                      Cae No. CV 04-09059
     15                                                  Case No. CV 05-2727
          MATI, INC., a Delawae corporation,
     16                                                  ORDER GRAG MGA'S MOTION
                        Defendan                         TO QUASH LARY MCFARANDtS
     17                                                  DEPOSITION SUBPOENA OR FOR
                                                         PROTECTIVE ORDER .
     18
          CONSOLIDATED WIT
     19 MAlTL, INC. v. BRYAN and
          MGA ENTAI, INC. v. MATrL,
    20 INC.

    21

    22 1. INODUCTON
    23 On March 17,2008. MGA Entertnment, Inc., Isaac Larian MGA EnteÍiment (H)

    24 Linute and MGAE de Mexico S.R.L. de C.V. (collectively IIMGA") submitted a Motion to

    25 Quh La McFarland's Deposition Subpoena or for Protective Order. On Marh 27, 2008,

    26 MatteI, Inc. ("MattI") submitd an opposition, and on Aprl 7, 2008, MGA submitted a reply.

    27

    28
          Bry v. Mallei ~
          CV-0.099 SO (R)

                                                                                                   ~ \1.~
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 6 of 63 Page ID
                                 #:154299



                                                                                                                                   l


      1 Mr. McFarland (''McFarlandll) has not submitted any briefig. Pursuat to Pargrph 5 of                            the
      2 Stipulon and Order for Appointment of a Discovery Maser, the Discovery Master finds it

      3 appropriate to decide the motion without oral arguent.

      4 n. BACKGROUN
      5 McFarlad is counl for MGA. He signed early copyrght regitrtions related to Bratz
      6 In those regitions, he stated th th "fist publication" of                              Bratz was Febru 12, 2001. In
      7 2005, aftr tl lawsuit began, MGA submitted Supplemental Copyrght Registtions stting that

      8 the "fist publication" was lias least as early as May 21, 2001."


      9 McFarland has also been involved in this cae sice the time it wa filed. MGA's Motion

     10 at p.1; McFarland Dec!., '1. He has "partcipated in legal defense discussions" with MGA's prior

     11 trial counsel and now with MGA's current trial counseL. Supp. McFarland Decl., 11. Curently,
     12 McFarland reents several third par witnesses, including Margaret Leay, Veronica Marlow,

     13 Sarah Halpern Elise Cloonan and Lucy Art. McFarland DecL., 'j.

     14 In Januar of2008, the distct cour grted Matel leave to tae McFarland's deposition,
     15 along with approxiately fort-five other individual and entities. MatteI made numerus
     16 atmpts to serve McFarland, and                    eventuly the distrct cour issued an Order to Show Cause why
     17 McFarlan should not be order to apPar for deposition. On Febru 25, 2008, the district
     18 cour dischaged the Order to Show Cause. The cour precluded McFarland frm objectig to

     19 MattI's subpoena on the bas of notice, serice or tielies, but made clear th all other
    20 objections to MateI's subpoena were preserved and to be adjudicaed by the Discover Master.

    21 MGA moves to quah McFarland's subpoena, or in the alternative, for a protetive order
    22 on the grounds tht, inter alia, the supoena is improper pursuant to the tet establised by
    23 Shelton v. America Motors Corp., 805 F.2d 1323 (8th Cir. 1986), which lits the depositions of

    24 opposing counel. MatteI opposes the motion, contending that McFarland may be the only

    25 avaìlable percipient witness on certai key issues in the case, and that in parcular, he possesses
                                                                                                       "
    26 unque non-privileged inonnaton regarding the daes of "fi publication" stated in severa ealy

    27

    28                                                                                                                        :2
            Brl v. Maiiei Inc.,
            CV.04-09 SGL(Rx)
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 7 of 63 Page ID
                                 #:154300




            copyright regitrtions he submitted on MGA's behal                          to the Copyrght Offce. Furer, MatteI
      2 contends tht Shelton is not the law of                      ths Circuit, and that in any even Shelton does not apply
      3 to McFarland becaus he is not trial counsel.

      4 m. STANARS
      5 In genera, u(p)arties may obta dicovery regarding any nonpnvileged matter that is

      6 relevat to any pary's clai or defense. II Fed.R.Civ.P.26(b)(1). All discover, however, is

      7 subject to the limitations imposed by Rule 26(b)(2)(C), Fed.R.Civ.P., which provides that the

      8 cour must limit the fi'equency or extent of discovery otherwse allowed by the Federa Rules of
      9 Civil Procedur or by loc rue if it determes tha: lI(i) the discovery sought is uneasonably

     10 cumulative or duplicave, or can be obtaed from some other source that is more convenient,
     11 less bw'densome, or less expensive; (ii) the party seeking discover has had ample opportuity to

     12 obtain the information by discover in thè action; or (il) the burden or expense of                       the proposed
     13 dicover outeigh its liely benefi considerig the nee of                                 the case, the amount in
     14 contrversy, the pares' resources, the importance oftbe issues at stake in the action, and the
     15 i1nportce of            the disvery in resolving the issues."
     16 Fed.R.Civ.P. 30(a) provides th depositions may be taen of                                   "any person." There is no
     17 expss prohibition agat deposing opposing counseL. See Shelton, 805 F.2d at 1327. Court,

     18 however, have cautioned tht depositions of opposing counsl should be allowed only in limited

     19 circumtances. In Shelton. the Eighth Circuit Cour of Appeas explained the judicial attde

     20 towar such depsitions as follows:
     21 We do not hold that oppsing tral counsel is absolutly imune from being
                       deposed We recogn that cirumces may arise in which the cour should
     22 order the tag of oppsing counel's deposition. But those circumce
                       should be limited to wher the par seekig to tae the deposition has shown that
     23 (1) no other means exist to obtai the inormation than to depose opposing
                       counse~ see ~ Fireman's Fund Ins. Co. v. Superior Court 72 Cal.App.3d 786,
     24 140 CaL. Rptr. 677 (1977); (2) the inrmtion sought.is relevant and
                       nonprivileged; and (3) the inormation is crcial to the preparation of                the case.
     25

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                                                                                                                                3
            Biy v. MøU~ Inc
            CV-04-09 SOL (RNB)
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 8 of 63 Page ID
                                 #:154301



                                                                                                                         l

      1 Shelton, 805 F.2d at 1327.1

      2 IV. DISCUSSION
      3 As a preli matter~ MatteI disputes whether MOA has standig to bring the inst

      4 motion? MattI's position is without merit. By brigig this motion, MGA seeks to protect its
      5 confdentil attorney-client communcations with McFarland, which it unquestionably has

      6 stdig to do. See Mi Unigene Labs.. Inc. v. Apotex. Inc.. No. C07-80218 SI, 2007 WL

      7 2972931. at *4 (N.D. Ca. Oct. 10.2007) (granti defendant1s motion to quash the depsition

      8 subpoena of defendants attorney).

      9 MatteI seeks inomiatoii frm McFarland related to the "factual basis for MOA's

     10 copynght applications and regiations for Bratz-- including the dates of crtion and

     11 publicaton- tht Mr. McFarland submitted to the Copyright Offce and that were chaged afr

     12 the inception of          this litigaton." MatteI's Opp. at p.l3. McFarland, however, is not the only
     13 source of infonntion regaring the repreentations contaned in MOA's applications and

     14 registrons for Bratz. In fat. Mattel has alrdy received substantial relevat. non-privileged

     15 discovery regarding the creon and publicaton of              Bratz ditly from Carer Bryant and many

     16 others who were personay involved .i developing Bratz and brig it to market. Furermore.

     17 MattI has already received substantial discover relating to MOA's. trademar and copyrght
     18 applications. MGA provided MatteI with copies ofMOA's copyright applicaons and

     19 registrations and made severa individuas for deposition regading those applications and

    20 registrations, including Kerr Brode, Nana Ashong, Bryan Artrng, Mitchell Kamarck (MGA's
    2 i former in-house comisel), and Sam Khar (MOA's curt in-bouse counsel). In parcular,
    22 MOA's 30(b)(6) witness, Mr. Kh, tested extensively regarding MGA's applications for
    23

    24 i Tho Ninth Cirit has not adopted ~.§ However, ~ is generlly regarded as the leadin
           ca on deposing opposing counel. In any event, Riue 26(b)(2)(C), Fed.R.Civ.P., ultately dictes the apppriate
    25 limits of discover.

    26 i McFarand appatly did not sere an objecions to the subpoena. Nor ha; McFarland submitted any
           briefig in connection wit the instat motion.

    27

    28
                                                                                                                     4
           Bryant v. Miiel Inc.,
           CY.04099 SOL (Rx)
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 9 of 63 Page ID
                                 #:154302




       1 copyright and tremk registations as to Bra Mr. Khar alo testied regardi the basis of
       2 the correction date of           publicaon for certin copyrght registrtions.
       3 MatteI Dext assert, without explanation, that McFarland has "unque knowlede

       4 conceinig chages in MGA's copyright regitrations for Bratz dolls" (MatteI's Opp. at p.13), and

       5 that suc inonnation is crucial to its case. Matti, however, has aleay quesoned Mr. Khe
       6 and other witnesses regarding the date chges made to MGA's copynght registrtions for Brat

       7 doll.3 MatteI ha not identified any "unque" knowledge McFarland may possess beyond that

       8 which Mr. Khare and others have aleady provided to Ivttel. There is no allegation that

       9 McFarland was pernay involved in the creation or publicaton of Bratz. Whatever "unque"

     10 knowledge McFarland may possess on thes subjects (beyond what has already been provided to
     11 MattI) was received frm MGA, and therefore, is very likely to be protected by the attorney-
     12 client privilege.
     13 Laly, Mattl contends that McFarland possesses percipient knowledge regardin

     14 staments he ha mae on behaIfof                        MGA in other lawsuts regarding the similarity betwen the
     15 Bratz dolls and Bryant's drwigs that are purrtdly inconsisent with MGNs position in th
     16 cae. MattI, however, ha already deposed MGA's 3O()(6) designee on Topic No. 34 of

     17 MatteI's Secnd Notice of                Deposition ofMGA, which essentially caled for MGA's aesignee to
     18 tes regarding the testiony, trcrpts, declarations, afdavits and other sworn wrttn

     19 statements mae by or on behal ofMGA that referred or related to Bratz in other lawsuits.

     20 In sum MattI has had ample oppOltumty to obtain the infonnation it seeks. In view of
     21 the substatial discovery MateI has alady sought and received regarding MGA's tremark an

     22 coyright applications, McFarland's deposition is duplicative and cumulative. McFarland is alW
     23 not likely to have any relevant non-privileged inonnation beyond that which Mattel ha alreay

     24
     25 3 Matt) conteds that MGA's Rule 30(b)(6) wies waS not knowledgeble and could not full explain the
            basis for ti date changes. Matt's complaints do notjU8 deposg yet anoter witness on the same subject. The
     26 Federa Rules of Civi Proceåre provide for other foim of           relief   to addrss a Rule 30(b)(6) witness' lack of
            prpaes or failure to provide complete renses.
     27

     28                                                                                                                         s
            Bryi v. Matei bio~
            CV...(909 SOL (RBx)
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 10 of 63 Page ID
                                 #:154303



                                                                                                                f


      1 sougt and receved in this ca. Finly, the burden and expese associated with conducting

      2 McFarland's deposition at ths late stage in the litigation outwigh its liely benefit, taing into

      3 consideration all of      the f-actors in Rule 26(b)(2)(C)(ii), Fed.R.Civ.P.

      4 V. CONCLUSION
      5 For the reasons set foi1: above, MGA's motion to quas McFarland's deposition subpoena,

      6 or in the alterative for a protective order, is granted pursuant to Rule 26(b)(2)(C), FecR.Civ.P.

      7 Puant to Pargraph 6 of the Stipulation and Order for Appointment of a Discovery
      8 Master, MGA shal fie ths Order with the Clerk of Cour foi1:with.

      9

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           Brynt y. Ma Inc..
           CV-04-049 SGL (RNBx)
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 11 of 63 Page ID
                                 #:154304




                               EXHIBIT B
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 12 of 63 Page ID
                                 #:154305




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           JAMS .
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      3 San Fracis, Caforna 94111
           Tel~hone: (415) 774-2611
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      5

      6

      7

      8                                          UN STATE DISTRCT COURT
      9                                         CETRA DISTRICT OF CALIFORN
     10                                                      EATERN DMSION
     11

     12                                                                         CASE NO. CV 049049 SOL (Rx)
           CARTE BRYAN, an individua,                                           JAMS Refernce No. 1100049530
     13
                               Plainti
     14                                                                         Conslidaed wi
                      v.                                                        Cae No. CV 049059
     15                                                                         Cae No. CV 05-2727
            MATlL, INC., a Delawae coiration,
     16                                                                         ORDER DENYG MA'IL'S
                               Defendat.                                        MOTION TO COMæEL PRODUCTON
     17                                                                         OF DOCUNTS BY MGA IN
                                                                                RESPONSE TO MATTL'S FI
     18                                                                         SET OF REQUETS FOR
                                                                                DOCUS AN TIGS;
     19                                                                         DENYG MGA'S REQUET FOR
                                                                                SANClONS
     20
            CONSOLIATE WITH
     21 MATIL, INC. v. BRYAN                        and
            MOA ENRTAI, INC. v. MATTL,
     22 INC.

     23

     24 L ThODUCTION
     25 On Januar 28, 2008, MaeI, Inc. ("MateI") submitt a Motion to Compel Production of
     26 Documents by MGA Enterent, Inc. ("MGA") in Respons to Mars Fif Set of                                  Request
      27 for Docuents and Thgs. MatteI's Fif Set of Requests consists of 47 reque for documents
      28
            Biy v. Ma. Inc.,
            cv .(.09049 SOL (R)



                                                                                                                         tf-l'l
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 13 of 63 Page ID
                                 #:154306




     1 rela to MGA's corprate governce and stctue and. relatig to the ficial relationship
     2 betWee MGA and Isaa Laan ("Laan"). On Febru 7, 2008, MGA submitted an opposition,
     3 and on Febru 15,2008, MaI submitt a reply. On Apri                                         11, 2008, at 3 :59 a.m., MateI

     4 submittd the declaaton of                   Melisa Grt in fuer suport of                    its Motion, whch attches 28

      5 exhbits and tota well over 800 pages. The motion was head on April II, 2008. A few hours

      6 af th hea, MGA submtt the declaron ofBemard Shek in respons to MattI's
      7 declaron.

      8 MatI contends th the reueste documens are relevant to isues ,of dages, joint and
      9 several        liabilty and enforcent of judgents. Furer, MatteI conte that MGA's and Lanan's

     10 ficial documen productions ar, in many respects, inadequate. See Grant DeL. submitted

     11 Apri 11, 2008. Among other thgs, MatI contends that the followig documents and
     12 inormation ar mi frm MGA's prouction: identity of                                        the preparer or source of

     13 information for the lists of assets and libilties of Laan and hi wüe for 2006 and 2007, and the
     14 i.derlying soure inormon for the list; the identity of                            the prepar or source ofinonnaton
     15 for       the list of   ban (includig the list of             Bea Ste and Merr Lynch account), and the
     16 accUD numbers and addrsss for the.                        li insttuons; detaed "genera                 ledgers" for 1999 and

     17 2000; unerlyig documentation for MOA's genera                              ledgers; underlying informon for the

     18 entes liste on the 1999 and 2000 "Historica Trial Balance Sumes"; Bra-speciñc
     19 inforration rega indiici vendor cost incured and product development speiñc ban

     20 inormation, includ sttements of aci.ts, cancelled checks, wI tranfer, expense report,

     21 receipt, divided distbution records payent vouchers, documention of salar; shabolder
     22 record; the identity of              the preparr or sour of           inormon for the various sphee and
     23 "check" roster, the underlyig sour data for these documents, the date they were crea and
     24 wher they were store; the sour and use of the mions of dollar of wi trfers to and from
     25 MOA's Union Ban acunt tht ar reflecte in the ban rerd produced by Union Ban the
     26 ban reords from other ban tht appea to have condcte Bratz busness with MGA;

     27 comprhensive and verable unudited "prfit & loss" statements for 1999 though 2004;
     28                                                                                                                                i
              Bl)l Y. Ma~ Inc.,
              CV-0 SOL (Rx)
    Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 14 of 63 Page ID
                                     #:154307




"



          1    inormaton regarg corpra foron. goverance, shholder interests and dibutons;
          2    and inormon regadig the nghts and inte th MGA's subsidies have in Bra Grt
          3    DeL
          4             MGA counte th MatI ha made ony.                         generiz asertons of relevancy, which

          5    MGA contes are insucient to jus eah of                          the requst at issue. MGA also contends th

          6    the reques at issue are obj~tionale bece they are overbroad imduly burdenome, and

          7    duplicative or cmnulatve of other discvery MatI ha aldy sought and reeived
          8                                                         IL DISCUSSION

          9              Rule 26 of the Federal Rules of Civi Predure provides tht "(p Jares may obtain .

         10    discover regag any matter, not prieged tht is relevan to the clai or defense of any

          11
                                                                                                                             use of
               par." Fed.RCiv.P.26(b)(l). The cour sha, however, lit the freqency or extent of


          12   the discovery methods if          the cour deteres tht (i) the discover sought is uneasnably

          13   cumulative or duplicave, or is obtale frm some other source th is more conveIent, less
          14   burdensme, or less expenive; (ii) the par seekig diver ha had ample oportty by
          15   discover in the action to obt the inormon sougt; or (iii) the burden or expee of
                                                                                                                             the

          16    proposed ~scver outeighs its liely beefi ta into account the needs of
                                                                                                                  the ca,.the

          17    amount in contrvers, the paes' resur, the importce of
                                                                                                  the issues at ste in the


          18    litigaon, and the importce of              the prposed divery in resolvig th isses. Fed.RCiv.P.

          19    26()(2)(C).
          20              MattI's motion is denied as to Reques Nos. 1-11 and 23-47. Although the requests may

          21    encmpass relevan documents, they ar overbroad and unduly burnsome, takg into

          22    consideraton al of        the fators se fort in Rule 26(bX2)(C), Fed.R.Civ.P. These request are

          23    overbrad beuse, among other thngs, MatI defies "YOU," "YOUR" and "MOAn to mea
          24    .. all curnt or formeI subsidiares, diviions, AFFIIA 1E (defied as 'any and al corpraons,
          25    propnetorsbips, d//a's, paerships, joint ventus and busess enties of any kid tht, diecy
          26    or inirtly, in whole or in pa own or control, ar tmder common ownèrhip or contrl with or

          27    ar owned or cotrlled by a PERSON, pa, or entity, includi without limitation each pant,
          28
                 Bl)t ". Ma me.
                 CV-0049 SOL (R)
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 15 of 63 Page ID
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          subsidiar and joint v~ntue of such PERSON, par, or entity'), predecessors-in-interest and
     2    successors-in-mterest." Jih Decl., Ex. 1.

     3             Many requests are also overbroad and unduly burdensome because they seek documents

     4    from before 1999. See Request Nos. 4-7. MatteI has made no attempt to place a reasonable

     5    temporal scope on its requests. Many requests are also cumulative, duplicative, and unduly J
     6    burdensome because they seek documents previously requested and received by Marte1. . See ~

     7    MGA's Objections and Responses to MatteI's Fift Set, p. 13. Although MatteI has identified

      8   some purorted deficiencies in MGA's production of                         financial documents, these purorted

      9   deficiencies do not       justify the substantial breadth and burden of             the discovery Mattei now seeks.

     10             MatteI's motion is also denied as to Request Nos. 12-22. Although these requests seek

     11   relevant financial documents relating to Larn, they are overbroad and unduly burdensome.
     12   Furhermore, MatteI ha aleady propounded and received substantial discòvery seekig the same
     13   or similar information. See MGA's Objections and Responses to Martel's Fifth Set, p. 44. By

     14   MGA's estimation, MGA has produced tens of thousands of pages of documents, includig

     15   documents showing Larian's net wort, gross income and its sources, and pertinent banng

     16   information. Although MatteI has identified some purorted deficiencies in the production of

     17   Laran's financial documents, these-puròrted deficiencies do not justify the broad discovery

     18   MatteI now seeks.

     19                                                        II. CONCLUSION

     20              For the reasons set !ort above, Mattl's motion to compel is denied. MGA's request for

     21    sanctions is denied. Pursuant to Paragrph 6 of the Stipulation and Order for Appointment of a

     22    Discovery Master, MGA shall fie this Order with C~ierk of                         Cour forthwith.

     23

     24    Dated: April t! 2008HON.
                                U EDWAR A. INF TE (Ret.)
     25                                                                                  Discovery Mer .
     26

     27

     28
           Bryant v. MateI, Inc.,
           CY .04-09049 SOL (RNDx)
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 16 of 63 Page ID
                                 #:154309




                                                      PROOF OF SERVICE BY E.MAIL




                                    .. .'
                                       . . .
             1, Sandr Chan not a par to the with acon, hery delar that on Apru14, 2008, I sered the

    atached: (1) ORDER GRAG IN PART MA TI'S MOTION TO COMPÉL MGA TO PRODUCE
    COMMCA nONS REGARING TIS ACTION; (2) ORDER GRANTG IN PART AND DENG


                                     , . .
    IN PART MATlEL'S MOTION TO COMPEL PRODUCTON OF DO AN TIGS BY MGA
    ENTERTAI, INC.; DENG REQUEST FOR SANCTONS; AN (3) ORDER DENYG
    MATfL'S MOTION TO COMPEL PRODUCTON OF DOCUS BY MAGA IN REPONSE TO
    MATfL'S FIF SET OF REUETS FOR DO~ AN THGS; DENYING MGA'S
    REQUET FOR SANCTIONS in the witbn acon by emai adessed as follows:
    John W. Keker, Esq. . Keke &Van Nest jkekerkvn.com
    Michael H. ~age, Esq. Keker & Van Nest mh~kv.com
    Christa AndersoA, Esq. , Keker & Van Nest cma~kvn.com
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                                                                                   ..
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 17 of 63 Page ID
                                 #:154310




         I declae uner pentY i:f peiur under the laws of the Unted State of Amerèa that the above is tre

   and correc .




                                            ./n~
         Execed on Apr¡l 14, 2008, at San FraciscO, Caiforna.


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                                           i Sandr Ch


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Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 18 of 63 Page ID
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                                EXHIBIT C
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 19 of 63 Page ID
                                 #:154312




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    5

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    7

    g                                              UNIT STATES DISTRCT COURT
    9                                            CE DISTRCT OF CALIFORN
   10                                                          EASTERN DIVISION

   11

   l2                                                                   CASE NO. CV 04-09049 SOL (Rx)
          CARTER BRYANT, an individua,                                  JAM Referece No.1 100049530
   13
                              Plainti,
    .4                                                                   Consolida with
                     v.                                                  Cae No. CV 04-9059
   l5                                                                    Cas No. CV 05~2727
          MATIL, INC., a Delawa corpration,
   16                                                                    ORDER DENYG MATfVS
                              Defendat.                                  MOTION TO COMPEL ADDmONAL
   17                                                                    DEPOSmON'TESTIMONY QF
                                                                         VERONICA MAow
    18
          CONSOLIDATÈD WI
    19 MATIL, INC. v. BRYAN and
          MGA ENRTAINT, INC. v. MATIL.
   20 ThC.

   21

   22 On Janua 28, 2008, MattI, Inc. ("Matel") submitted a Motion to Compel Additional
   23 Deposition Testony and Production of Documents by Veronica Marlow ("Malow"). On

   24 Februar 12, 200R, Marlow, who is not a par to ths action, submitted an opposition, and on

   '25    Marh 14,2008, Mattel submitted a reply. Afr meeting and conferr fuer, the pares were

   ".6 able to reolv.e the production of documents porton of
                                                                           the motion~ See Joint Reprt submitted
   27 Marh 31, 2008. Thus, the only issu remang is whether MateI should be grted leave
   28
           Bry v. Ma!, Inc.,
           CV.(9 SOL (R)
                                                                                                                   t .'2 '2
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 20 of 63 Page ID
                                 #:154313




         pursut to Rule 30(d)(1), Fed.RCiv.P., to depose Malow for an additiona foureen hour.

   2 Pusuant to Paraph 5 of                        the Stpulaton and Order for Appointment ofa Discover Master; the

   3 Discver Master fids it appropnate to decide the motion without oral arent.
   4 Based upon al papers fied to date, MattI's motion is denied. Rile 30(d)(1),

   5 Fed.R.Civ.P., provides th "a cour must allow additiona tie consistent with Rule 26fb)(2) if
   6 need to fairly examne the deponent or if the deponent, another person, or any other
   7 circumstace impees or delays the examation." In ths case, M.attel has faied to make the
    8 requisite showig under Rule 30(d)(1) to jusfy additional time to depose Marlow. Matel has

    9 aleay deposed Marlow for approximately seven and a half                           hour. Matel questioned Marlqw at

  10 lengt with respect to her knowledge and involvement with MGA, Carer Bryant and Bratz.

  11 Although MattI sets fort severa reaons for seekig additional time, none of                            them, either alone

  12 or in combinaon, justies the burden and expense of having Marlow appear for fier

   13 examnation, takng into consideration al of                         the factors set fort in Rile 26(b)(2)(C),

   14 FedRCiv.P.

   15 Pursuant to Paragrph 6 of                             the Stipulation and Order for Appointment of a Discovery

   16 Mater, Mattei shall fie ths Order with the Cle .0 Cò
   17

   18     Dateæ Apri 22, 2008
                                                                                               A. INANTE (Ret.)
   19                                                                                     scoveiy Master
   20

   21

   22

   23

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   25

   16

   27

   28                                                                                                                           2
           Bryan v. MattI. Inc..
            CV -04-099 SGL (Rx)
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 21 of 63 Page ID
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                                EXHIBIT D
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 22 of 63 Page ID
                                 #:154315
                                                                                            5.7.05-




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      6

      7

      8                                UND STATES DISTRCT COURT
      9                                CENTR DrsTRCT OF CALIFORN
     10                                     EASTE DIVSION
     ii

     12                                              CASE NO. CV 04909 SOL (RNx)
          CARTER BRYAN, an individual                JAMS Reference No. 1100049530
     13
                           Plaiti
     14                                              Conslida wi
                   v.                                Cae No. CV 04-09059
     15                                              Cas No. CV 05-2727
          MA1TL, INC., a       Delawa corpration
     16                                              ORDER GRAG IN PART AN
                           Defendat.                 DENYG IN PART MGA PARTI'
     17                                              MOTION TO QUAS SUPOENAS;
                                                     GRAG IN PART AN D~G
     18                                              IN PART MATlL'S COUNR
                                                     MOTION TO COMPEL
     19
         CONSOLIDATED WI
     20 MATTL, INC. v. BRYAN an
          MGA ENRTAI, INC. v. MADE,
     21 INC.

     22
                                             I. INODUCTON
     23
                    On Deembe 21,2007, MGA Enterent, Inc. ("MGA"), Isaa Laran MGA
     24
          Enterent (H) Limited, and MGAB de Mexico S.R.L. de C.V. (collectively, the "MGA
     2S
          Paresj submitt their motion for an order quhi suoe ísby MattI, Inc.
     26
          ("ateI") to non~pares Conseres Deloitt & Touche, Ert & Youn, the Isaa and
     27

     28
          BTI Y. Md Inc.,
          cv .(099 SO (Rx)
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 23 of 63 Page ID
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      1 Angela Laan Tro the Isaac Laan Anuity Trut, Moss Ad, Wachovia Ban an Well
      2 Fargo, or in the alteiive, a protective order ling the scpe of those subpoe. On
      3 December 27,2007. the MGA Pares submitt a supplementl brief                    to add to their motion to

      4 quah th more subpoenas MateI sered on the Isaa E. Laan Quaifed Anuity Tru 2004,

       5 th Isaac and Angela Laria Famy Tro and the Is and Anela La Tru On Janua 18,
       6 2008, MattI sumitt an oppositon and counte motion to compel producton of docwnents

       7 resnsive to th subena and a privilege log. On Febrar 7, 2008, the MGA Pares

       8 suinttd a reply. and on Febr 15.2008, MaeI submitted a rely in support of it counter
       9 motion. The paes wer dited to meet and confer fuer regag the motions, which has

     10 been completd. See Joint Report da Marh 28, 2008. Despite the additional mee and confr

     11 sesions, the paries were unble to resolve or narw their disutes regadig the in motions.
      12 Puant to Pargrph 5 of                   the Stipulation and Order for Appointment of a Dicovery Mar, the
      13 Discvery Maer finds it approprate to tae the motions unde submssion for decision without
      14 ora argument.

      15 II BACKGROUN
      16 Er & Young an Deloitte 8l Touche are MGA's auditors. MaI's subpen to MGA's

      17 auditors seek production of docuents:. (1) relat to MGA's an~ auits and the identity of
      i 8 other auditors; (2) indicatig or calcuatg MGA's net wort and the value of MGA's goodwill

      19 and intellectu prope; (3) relat to Bra; and (4) rela to the legal dispute betwee Is
      20 and Fard La
      21 Wachovi lent money to MGA to fud the creaon and/or development of                           Bra and to
      22 acui Litte Tikes. MateI's subpoea to Wachovia seks docuen related to: (1) the loans
      23- Wachovia extended to MGA; (2) the legal dispute betee Isaa and Farad Laan (3) MOA's

      24 net wort goodwi and intellectu propert; (4) Bra an (5) th action.
      25 ConserQest is a marketig reearh fi that perored market rech and analysis
      26 for MGA produc. includig Bmtz MateI's subpo to Conseruè seeks documts
      27

      28                                                                                                            2
              Bryt v. MIt hi~
              CV-G049 SOL (R)
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 24 of 63 Page ID
                                 #:154317




     . I relat to: (1) Bratz and other produc involved in th acon. (2) conser reseah and
       2 marketig wor done regardig other MGA products underlyig the pares' clai; an (3)
      3 communications with MGA, Is Laan and other pares relevan to ths action, such as Caer
      4 Bryant or oth former MatI employee and vendors.

       5 Wells Fargo is and ha bee MGA's ban durg periods releva to ths action. MaI's

       6 suoena to Wells Fargo conta five reues, seeking MGA's banng and ficial documents
       7 includig accunt informaton, cacelled checks, monthy and daly trSactional histry, and

       8 ban staements.

       9 Moss Adas is and has ben Isaac La's accounta durg the relevant perod. The
     10 supoena to Moss Adams seeks: (1) accowitig rerds, ta records, and schedules for MGA,

     11 Isaac LarlU Isaac Laan's trst and Farad Laanj (2) documents indicating or calculating

     12 MGA's and Isaa Lar's net wort; (3) documents relati to th value ofMGA's intellec
     13 prope and goodil; (4) documents relatng to Bratz and th acon; (5) evidence of                       payments
     14 from MGA or Isa Laan to Bry and other MateI emloyees; an (6) Isac Laan's
     is involvement with other trst or institution in which he has an interes

      16 MatteI also served subpoena                          on sever of       Isc Laan's tr. MaI's subpoen to

      17 Isa Larian's trsts seek: (1) docum't related to the trst' organon, including th
      18 idenes of its tres and beeficies; (2) the trst' ta records; (3) documents indicang the

      19 tr' assets; and (4) informon related to other tn in which Laan bas an inter

     20 Al of                  the non~pares objected to MateI's subpoenas on the grunds tht, iner alia, they

     21 ar overly broad, unduly burenme and seek irlevant anor duplicave inomiaton. Park

     22 De!., Exs. 15-26.
     23 The MGA Pares conted that MaI's subpoen ar overly broad, unduly burensome,
     24 and cumulative and duplicave of discovery MaI ha alredy sought and recived More
     25 specicaly, the MGA Pares ra the followig objections to each of                        the four catgores of
      26 docuents MaI seeks. Fir the MGA Pares contend that MatteI's sùbpoenas esentiy seek

      27

      28                                                                                                               3
             Bryt v. MIlc: Inc.
             CV4L-09 SOL (Rx)
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 25 of 63 Page ID
                                 #:154318




      1 unettere acces to MGA and Isaac Laarls fiancial hitories for a nie-year peod frm 1999
      2 to the preent, and that there is no claim or defene at ise th could possibly jus the br

      3 and intriveness of             the subpoena. Furt, the MGA pares contend that they have aleay
      4 produc vast amounts of              relevant fiancial docuen in respnse to Matrs discovery reues.
      5 To make their point, the MGA Pares prar a detaled cha th identies Mattrs supoeas
      6 reuest to the non-paes and for eah suh reues identies an exemplar list of duplicave
      7 document requests and/or interogatories tht MatI served on Carr Bryant and/or th MGA
      8 Pares. See DecL. of Amy Park in Support of MGA Defenda' Motion to Quh, Ex. 28.

      9 Second, the MOA Pares conted that MatI's supona are overbroad in th they ca

     10 for production of the fiancial records of tNer persn who ever did any work for MGA or Isc

     11 Laan, and ever conceivable relatve ofIsaa Lanan TheMGA Pares conte tht the private
     12 finacial reords of             these non-pares are not relevant to the cas, and that MateI's supo
     13 constitue an abuse of the non-par discovery proess.
     14 Thd, the MGA Paries contend th MattI ha alrey sought and reived docents
     15 relatng to the litigaon between Isaa Laan and hi brother Far Laran frm multiple
     16 . .sour. More specificaly, the MGA Pares contend th Mattl ha sougt and reved
     17 relevant docuents from Isaa and Fard Laan as well as MGA and at leat two law firm
     18 involved in the litigation betwee the Laan brothers.

     19 Fomth, the MOA Paries objec to the varous reques for al documents obtad from

     20 MOA or Isaac taan relatg to Bra other MGA prducts or Carer Bryant Althoug the
     21 MGA Pares acknowledge tht some of                the requesed documents may be relevant, the MGA
     22 Pares contend that the docuent reues-ar objectonable bec Mattel has aleay requst
     23 and received well over thee millon pages of relevant documents frm the MGA Pares. The

     24 MGA Pares also contend th MatteI's reqst ar so overly broad that it is impossible to
     25 disce what specc, relevant, non-duplicative douments MatteI is reuesting from the non-

     26     paes.
     27

     28
            Bryt Y. Mau,me..
                                                                                                            4
            CV-Q9 SOL (Rii)
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 26 of 63 Page ID
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      1 In contr MatI contends th all of the supona sek documents that ar relevant to
      2 seera issues in the case, including, but not limite to, the cron and development of            Bra
      3 MateI's daages claim (including MattI's claim for ptmtive daages and disgorgeent),
      4 MaI's clai aginst MGA for commercial bnõery, MGA's damages claims the vaue ofMGA's

      5 goodwill and intellectual propert, and the credbilty and bias ofMGA and Isaac La as well
      6 as other potential witnesses. MatteI contends th it should be peritt to puue discvery from
      7 non-paes, and not have to rely upon the good fath ofMGA and Isac Laian to comply with

      8 thir discovery obligations. MatteI also contends that it should be permtted to pur diver
      9 from the non-pares in order to gud agait the possibilty of spliaton of evidece and/or
     10 documen tapenng.

     11 Furermore, Mattl contends that the MGA Pares have not shown that they possess,
     12 much less have produced, all of               the documents MattI is seekig from the non-pares. More
     13 specifcaly, Mattel contends that the MGA Paies have faied to produce the followi
     14 documen that MatteI has reuested frm fue vaous non-paes: documents relatd to Isaa
     15 Lan's net wort and the value ofMGA's intellectual propert and goodwi; MGA's ta records;

     16 Well Faro ban rerds for MGA; documen related to payments to by MGA, Laan or the

     17 Laan tr to Bryant and other MatteI' employees and vendors; documen from the ;Lan v.

     18 Laan litigaton; documents relate to the La ~s, includg any documents. showing Is .
     19 L8an's interest in, payments receved from. or trfer to those tr; and docUment regaing
     20 the 1999-2000 and 2006               loan MGA received from Wacbovi includng wha documents MGA
     21 and Laan gave to Wachovia to justi the loan. Furermore, MattI contends that MGA's
     22 desptions of the documents it ha produced ar vage, inure or misleading.
     23 MaI also contends th the MGA Pares buden objecon is unubstti in tht
     24- none of       the subpoenaed pares ha fied a declaron in opposition to the motion or offerd any

     2S specifc evidenc that the subpoas imse an undue burden. Rater, Matti represents th

     26 some of the subpoenaed pares were aly in the proces of prearg "documents for
     27

     28
            Bryt v. Ma Jn~
            CV-09 SOL (Rx)
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 27 of 63 Page ID
                                 #:154320




       1 prduction or meetirig and conferrng with MatI when MGA fied the int motion Core
      2 Dec!., ri7-9. Furerore, Mattel points out that itha offer to reimbur the non-pares for

      3 copyig cost an to have its own paega and counel inct documents gaere
      4 Il. ST ANARS
       5 Ru1e 26, FedRCiv.P., provides that "fpJares may obtan discovery regardig any matter,

       6 not privieged, that is relevant to the clai or defens of                  any par." Fed.R.Civ.P.26(b)(l). The

       7 cour shall, however, limt the fruency or extnt of                     use of   the discver methds if   the cour
       8 determes th (i) the discovery sought is unasnaly cwulative or ~upIicative, or is
       9 obtaable frm some other source that is more convenient, less burdenome, or less expnse;
      10. (ü) the par seekig discovery ha had ample opportty by discovery in the action to obtai the
      11 informaton sought; or (iü) the burden or expense of the proposed discover outweigh its liely
      12 benefit, tag into accunt the nees of                       the cae, the amount in contrversy, the pares'
      13 resources, the importce of                the isses at ste in th litigation, and the imrtce oftle
      14 proposed discovery in reslving the issues. Fed.R.Civ.P.26(b)(2)(C).

      15 Ru1e 45, FedR.Civ.P., reuir thd pares to produc documents (and reaonaly
      16 acssible electronicay stored infoonation) tht ar reonsive to a supoena th a par serves
      17 on them. Fed.R.Civ.P. 45(b), (d). Ifthe supoenae douments arrelevant and there is good
      18 cause for their producton, the subpoena is enorced unless the documents are privileged or the
      19 subpoena ~ unonable, oppressive, ~oyig or embars~g. U.S. v. Am~rica Optica C;:,
      20 39 FRO. 580.583 (N.D. Ca. 1966).
      21 Ru1e 45(cXl), FedR.Civ.P., requires a par sering a subpoena to take reasnable ste
      22 to avoid imposing undue burden or exe on a pern subject to the subpoena Furermore,
      23 "(t)he isg cour mus enforce ths dut and impose an approprme sancton--which may

      24 include lost eargs and reasonable attrney's fee--on a pa or atorney who fais to comply."

      25 Id. Rule 45 also provides that the issuig cour mus quah or mod a subpoe under certin
      26 cirtaces, including among others, when the subena reuis the diclosur of prvileged

      27

      28                                                                                                                   6
              Biyt v. Mae! Inc.,
              CV-0099 SO (R)
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 28 of 63 Page ID
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      1 or other prote ma or subjec a person to undue burn. FedR.Civ.P. 45(c)(3)(A)(üi) and

      2 (iv). A motion to quh a subpoena or for a protetive order as to that subpen may be made by
      . 3 a par-opponent See Moon v. SCP Pool Corp., 232 F.R.D. 633, 636 (C. D. Ca. 2005) (grti

      4 defendats' motion to quash supoen).

       5' In evauatig whether a subpoe imposes an undue burden Rule 4S(c)(3XA).

       6 Fed.R.Civ.P., '''requies the cour to weigh the burden to the subpaed par against the vaue of

       7 the inormaton to the servg par,' . . . and in parcular requi the cour to consider: 'such
       8 factors as relevance, the need of the par for the documents, the breadth of the docent request,

       9 the tie period covered by it, the parcularty with which the documents ar describe and the

      10 burden imposed.'" Moon. 232 F.RD. at 637, quotig Travelers Indem. Co. v. Metpolita Life

      .11 Ins. Co., 228 F.R.D. 111, 113 (D. Conn 2005). Another import factor in evaluag buren is

      12 whether the subpoenaing pa ca more eaily an inexpensively obta the documents from

      13 another par, raer than frm the nonpar. Moon, 232 F.R.D. at 638.

      14 IV. DISCUSSION
      .15 A. Fincia1normation re MGA and Isa Laan
      16 MaI has subpoenaed five dierent entities that peror finacial servces for MGA or
       17 Isaa Laan: Well Fargo, Wachovia;Ern & Yourg, Deloitte & Touche and Moss Adam.

       i 8 Although MatteI's reques encompass documtnts that ar relevant to severa isses in the case,
       19 the request are unduly burdensome, exceedgly overbroad. and unnably cumulatve of
       20 other discover Mattel has aleay sought and received in ths ca.
       21 For exaple, the subpoena to Wells Fargo demands production of
                                                                                                          the followig brad

       22 categories of         fiancial documents: (1) "(a)ll DOC RERRG OR RELATIG TO
       23 MGA from Janua 1, 1999 to the present, inclusve"; (2) "(aJil DOCUM REFERRG OR
       24 RELATIG              TO the ACCOUN               mantaed by YOU number 9600112551, includi bu
                                                                                                                         not

       2S liited to stments, monthy sttements, anua stteen, daly trsacton history report,
       26 monthy tranon history report, depsit report, depsit slips, cac'led checs, signat
       27

       28                                                                                                                      7
               Brt v. M8t Inc.,
               cv -l-09 SOL (Rx)
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      1 cads, and COMMCATIONS RERRG OR RELATIG TO such ACCOUNT, crte
      2 betw Janua 1, 1999 and the present, inclusive"; (3) "(alII DOCUMTS REFERRG OR
      3 RELATIG TO" any other accounts crted between Januar 1, 1999 and the present, inclusive;
      4 (4) DOCS sufcient to show                              the account number for al accounts mataed in the nae

       5 of, for th benefit of or concerng MGA between Janua 1, 1999 and the present, inclusive; (5)
       6 and"( aJll DOCUMTS showig or relati to any account(s) held by MGA or any acunt(s)
       7 on whch MGA ha signtory auority at any other finacial instution." .
       8 The breth of                      the reuests to Wells Fargo is compounde by the fa that "MGA" is
       9 defied to include MGA Entertent Inc., any of its curnt or former employees, offcers,
      i 0 diector, agents, representatives, attrneys, parents, subsidiares, divisions, affliates,


      11 precessors-in-interst and successors-in-interest, and any other PERSON acting on               its behal.

      12 Furerore, the phrase "REFEG OR RELATIG TOil is defied expansively as
      13 "reflectig, identig, describing, sumari.g, evidencing, referencing, conceg, discussing

      14 or indicag in any way." Park DecL., Ex. 1 1.

      15 11 supoen to Isac Larian's ta accunting ~ Moss Adams, is simlarly overbad.
      16 For exle, MaeI seeks "(aJll DOCUM RELATING TO MGA (and) ISAAC LAR,
      17 includin without liitation, acoung recrds, ta retu and scb,edules . . . and dr theref,
      18 W-2s, work paper workseets, payrll rerd, ficial staents (audited and unaudited), pro

      19 formas, budget, accunt informon and account sttements." Par Decl., Ex. 12. The phrse
      20 "RELATIG TO" in the subpona to Moss Adas is dred in the broades possible maner to
      21 include "referencing, referrg to, constutig, evdencing, pertnig to. mentionig, supportg,
      22 contricting, negating, bea on, touching on, contang, embodyig, reflecti identig,

      23 stati, deag with, conceg, commenting on, su, reonding to, relati to,

      24 desbing or discusin in any way." Id. As anther examle. MattI's subpoena to Moss Adas

      25 includes a reques for all documents relatg to any non-payrll payment or trfer of value frm

      26 MGA or Is Laan to any "FORMR MATTL EMPLOYEE." MateI does not identi any
      27

      28                                                                                                              8
              Bl't v. Ma bi.,
              CV-09 SOL (Rx)
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       1 of     thes "FORMR MA TfL EMPLOYE" or othrwe liit the request to any spcic tie
       2 penod
       3 The supoenas to Deloitt & Touch and Ern & Youn ar simarly unsted in

       4 scope, seekig the followig caegones offinacial docuents: all documents consttug or

       5 relatg to MGA's anua audts, includg without limtaon accuntig record, au progr,
       6 audit report and dr therf, ta retu, work papers, worksheets, payrll records, ficial

       7 projecons, pro form and budgets, from the perod beginng Januar I, 1999 to the prsent; all
       8 documents indicatg or caculatg MGA's net wort; and al doents indicatig the value of
       9 MGA's intellectu propert or goowill. Park DecL., Exs. 7-8.

      ID With respet to Wachovia, MatteI seks the following caegones of                                     financial documents:
      11 al documents relatin to any loan agreement tht Wachovia entered into with MGA since Janua
      12 1,1999, including dr of                  any ageements; al documents tha MGA or any othr                     pern
      13 prvided to Wachovia for purses ofentenng into any loan agreement between Wachovia and

      14 MGA; all documents that were in the "thee (3) boxes ofloan documents" thtWachovia referred
      is to in a Novembe is, 2005                 lettr to Robert G. Wilson, Esq.; al docents relat to any loan
      16 agen entere into by MGA, or sought or requeed by MGA, durg the tie period Janua
      17 I, 1999 and Decmbe 31, 2000, inclusive; al communicatons between Wachovia aid MGA

      18 durg the tie penod Janua i, 1999 and Decembe 31, 2000, inclusive; all documents

      19 mdicatng or showig a caculaton ofMGA's net wort_or v~ue; all documents indicatig or

      20 caculatig the value ofMGA's intellect propert or goodwi; al docens relating to Bra
      21 includig wiout limtaon those obt from MGA,since Janua 1,1999; and documents

      22 sucient to identify any other MGA lender or person who extnded or was reuested to extend a

      23 lie of credt to MGA sice Januar 1, 1998. Park De!., Ex. 9. Marel contends that the loan
      24 doei;ts wi contai informaton about the tig and cttion of                                   Bratz However, al of     the
      25 reuets for ficial documents, except for portons of                            Request Nos. 4 and 5, are much broader,
      26

      27

      28.
                                                                                                                                   9
              Bryt v. Ma In.,
              CV 00-l049 SOL (R
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      1 seeki everyg relating to any loan betwee MGA and Wachovia frm 1999 though the

      2 prset.
      3 Fureonore, to the extnt any of                            Mattel's request for ficial inormation encompas
      4 relevant maris, the request remain uneasonably duplicave and cwnulatve of discovery

      5 MatI ha alady sought and obtaed from MGA and Isac La (with the excetion of
      6 Request Nos. 4 and 5 in the Wachovia subpena). MGA ba produce the followig: auite and
      7 unudted quarerly and anua profit and loss stteents; audited and unaudited querly and
      8 aiua stements; anual report; varous MGA finacial report; varous fiancial documents
      9 relat to Vernica Malow; docuents showig royalty payments to Carer Bryant; docuents
     10 showig MGNs sales, retu and cost of goods sold for each month, by SKU, since 2001;

     11 documents showig MGA's promotional advering and meda expenditues, including MONs

     1-2 inter allocation of             those expenditus by brad and/or prouct; douments showig MOA's

     13 amorton and depreiation of certn capita asts and expenditu; docuents showing
     14 MOA's monthy general ledger entres agegate by accunt, includ income and expene
     15 accunts, rees and liabilties; an documents sufcient to explai MONs varous accouIts as
     16 preenty and historicay maied jn MONs book and records. Park Decl., '3.
     17 The MOA Pares also represent                              tht Isa Laan reenty prpduce over 50,000 pages of

     18 documents which included, among othr thgs; docents showig his net wort his grss

     19 income, waes, dividend income, inerst income, and other income; his ban and ban

     20 accolIts; and varous other ficial documents. Park Decl., ,,2. Thus, MatteI has received

     21 ample fiancia documents. MatteI has also deposed MGA, Isaa Laan, and other                           witnesses

     22 regag relevant ficial inoonon. In view of                                    th discover Mael ha aldy sought and

     23 recived Marl's over-rehig, broad subpoen to the vaous non-pares seekig more

     24 ficial inormon regardi MGA and Isaa Laran ar tmjustified tmder Rule 26(b )(2),
     25     FedR.Civ.P.
     26     /1

     27

     28                                                                                                                    10
             Bryt v. Ma Inc.,
             CV -09 SOL (.)
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 32 of 63 Page ID
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       1   B. Fincial Inormaton re Non-Pares
      2               Mattrs subpoenas alo seek ficial documentS re ga           numerus non~pares,
      3    includin everyone who ha ever worked for or repsented M GA or Isaa Laan and ever

      4    relatve of Isa Laran. Once again, althoug the subp encompass docuents tht are _
       5   potentialy relevat to Matrs clais and defenes, the subpo             en ar overly broad sweepin~
      6    vas amounts of dpeents that bave litte to no relevance. F or example, Mars subpo .:

       7   Moss Ada and the varous trts includ req for al fo rmaton douments, all ta retus,

       8   any other ta -relat docuents from 1999 to the prent and docuent relatg to the operaon
       9   of   the trt, includin every         tree and beeficiar of each tn st every disburmen by each

      10   trt, every asset owned by each trt, and every liabilty of e ach trst. Mael has not shown tht

      11   al of    the requested documents ar relevant to the clai and defenes in the cae.

      12              Maters supoen to the non-pares ar also uneaso nably duplicave and cmulative of
      13   discvery MattI bas already sought and recived in ths cae. Furermore, to the extent MateI's
      14   subpona might include requst tht ar not unasonably duplicatve and/or cumulatve of

      15   other divery reues, the probative vaue of             the inrmat on Mal seeks is susttialy
      16   outeighed by the buen of prduction. especaly in light 0 f the privac interes of the many

      17   non-pares who would be afeced1

      18   C. Inonnaton re Litigaon Beteen Isaac and Farhad Laan
      19              Al of    MatI's subpoenas to the non-paes, except W ell Fargo, include a request for al
      20   documents relatg to any litigation betwee Isac Laan and Farhad Laan. These reques are
      21   unasonably duplicave and cumultive of may reque M atel preously sered on Isaac
      22   Laan MGAFarhad Laran Stm & Goldbg and Kaye Scholer. Mal has sought and
      23   reived substtial discovery regaring the litgation betwee             n Isaa and Farha Laan ~
      24
                       J In it rely bre~ MattI conte that Isaac Lar is the tr
      25                                                                    te of all of the tr that MaI ha
           suenae and therfo he wa red, but puor faled to seah for and pruc trst docents when
      26   resndi to the discove reque did to hi These ises ar beyond the scope of the prest motion BI
           wil Dot be addr her
      27

      28                                                                                                        11
            Bi Y. Mil, Ino.,
            CV~0949 SOL (Rx)
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                                 #:154326




      1 Order Re MatI's Motions to Compel Farha Laan Kåye Scholer and Stem & Goldberg to

      2 Pre Downents da Janua 25, 2008. MaI ba not shown that the non-pares posses
      3 any relevant, non-privileged material beyond what MattI has alady sought and reeived frm

      4 other sources. Furermore, the burden and expens of complyi with the non-par subpoena

      5 substtially outeigh their likely benefit under Rule 26CbX2), FedR.Civ.P.

      6 D. Documents re MGA's Product or Car Bryant

      7 MatI's subpoenas to the non-pares inlude reqts for documents relating to Ca

      8 Bryt, Bratz an other MGA products or work perormed for MGA. Although ths cagory of

      9 requests encompass documents th ar potentialy relevan to the clai and defenses in the
     10 case. the requests ar neverteless objectionable beaus they are overly broad and not taore to
     11 exclude irrelevant, duplicave or unonably cuulatve inormtion. MatI has taen vas
     12 amounts of dicovery regar Carr Bryant, Bratz and other MGA produc from several

     13 different soures. MatI has not shown that the non-paes possess any relevant, non-privileged

     14 maer beyond wha MatteI has aleay sought and received from other sources. Fuerore,
     15 the burden and expense of complyig with the non-par subpoen subsally outeigh their

     16 likely benefit under Rule 26(b)(2), FedRCiv.P.

     17 V. CONCLUSION
     18 For the reaons set fort above, the MGA Pares' motion to quah, or in the alterve for
     i 9 a protecve order, is grted except with repec to th following reues:
     20 . Wachovia subpoena, Reques No.4, limite to "al docuents relating to any loan

     21 agreement entered into by MOA, or sought or reqd by MOA, durg the tie
     22 perod Januar 1, 1999 and Debe 31,2000, inclusve"; and Reqest                           No. 5,
     23 limte to rtall communcaons between YOU and MOA durg the tie period

     24                         Januar 1,1999 and December 31, 2000, inclusive" regain any loan agreeent

     25                         ener ino by MGA, or sougt or request by MGA, dug the time peod

     26                         Janua 1, 1999 an Decembe 3 i, 2000, inclusive. "'
     27

     28
                                                                                                        12
            Biy v. Mat lnc~
            CV.04ll SOL (Rx)
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      1 Matrs counter motion to compel is grte in pa and dened in pa in accordace with the
      2 Cour's rug on the MGA Pares' motion to quah, or in the alterative for a protective orde, as
      3 set fort imedately above. Wachovia sha produc docmnents responsive to Requst Nos. 4

      4 and 5 as set fort abve on or before May 16, 2008.

      5 Noth in th Order is intended to authori or prclude MatteI from seeki documents
      6 frm the non-pares identied herein as par of Phase 2 discover, if appropriate.
      7 Pusuant to Pargrph 6 of the Stipulaton and Order for Appointment of a Discover

      8 Masr, the MGA Pares shal fie th Order wi the Clerk of Cour fortwith
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 35 of 63 Page ID
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                                EXHIBIT E
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      1 Hon. Edwaa A.lnante (Rt.)
           JAM
      2 Two Embaadero Cete
         Suite 1500
      3 San Fracís, carna 94111
           Telephone: (415) 774-2611
      4 Facsimile: (415) 982-5287

      5

      6

      7

      8                                           UND STATE DISTRCT COURT
      9                                          CEN DISTRCT.                OF CALIFORN
     10                                                          EASTERN DMSION

      11

      12                                                                     CASE NO. CV 0409049 SOL (Rx)
            CARTER BRYAN, an individual                                      JAM Referce No. 1100049530
      13
                              Plaitiff
      14                                                                     Consolidated with
                     v.                                                      Cae No. CV 04-9059
      15                                                                     Cae No. CV 05-'1127
            MA TlL, INC., a Delawar corporaon,
      16                                                                     ORDER DENYG MATIL'S
                               Defendat.                                     MOTION TO COMPEL FUTH
      17                                                                     DEPOSmON OF MAGART
                                                                             HATCH-LEAH; DENG
      18                                                                     REQUEST FOR SANCTIONS
      19    CONSOLIATED WI
            MA TIL, INC. v. BRYANT and
      20    MGA ENRTAIT, INC. v. MATI,
            INC.                                                        ..
      21

      22
                      On Janua 28, 2008, Mattt Inc. ("Matl") submi a Motion to Compel Furer
      23
            Deposition of       Magaet Hath-Leahy and to Overe Instrctions Not to Answer; and for
      24
             Sanctons. MatI reues an aditional nie hours of deposition tie and sactions in the
      25
                            $4,000. On Februar 12,2008, Magart                Hatch-Ley ("Let), who is not a   par to
      26 amount of

             ths action, submitted an opposition, and Car Bryant ("Bryt") submitt a joinder in Leas
      27

      28
             Br T, MBlcl. in.,
             CV-0.0049 SGL (R)




                                                                                                                        ~.'2.Dt
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      1 opposition. On Marh 14, 2008, MatI submtted a rely. Puuant to Pargrph 5 of                               th
     2 Stipulaton and Orde for Appointment of a Discovery Maste, th Discovery Maser fids it

     3 appropriate to decide the motion without ora arguent

     4 MateI assert essetiy thee reasons for seekig adtional time beyond the presptive

      57-hom tie lit for depositons. First, MaI emphasiz that Ley is a key witness, and that
      6 seven homs wa not enugh tie for MattI to fiiuh its examaton. MattI emphasi that
      7 Bryant solicited Leahy to sculpt the Bra dolls in September 2000; tht Ley atnded meetigs
      8 with Bryant and Paula Garcia to discuss Bra sculptues; and that Ley is the sole sculptor on
      9 Bratz in the key 2000 tie period. Second, Mati contends that Leahy's counel hidered the

     10 deposition by'belaedy producin documents, including Leahy's origial planer (without the

     1 i redctions apeaing in the copy of                  the plaer prviously produce) and approximaly i 75

     i 2 pages constig of photographs of doll cats, molds and scupts. TId, MatteI contends tht

     13 counel for Leahy, MGA and Bryant hindered the deposition by tag frequent brea, coachig

     14 Leahy, and even walg out of                    the deosition mid-queston. In parcular, MateI accuses MGA's

     15 counel of repeaedy interting questions "thug tactcs such as demading th questons be

     16 re-read for in-house counel ofMGA, Craig Holden, or demading tht in-house counsel for

     i 7 Mai, Michael Moore, be shufed in and out of                          the deposition." Ma1eI's Motion at p.2 Mattei

     18 alo contends tht Leahy's counsel obstrct the deposition by improperly intrctig Leay not

     19 to aner questions.

     20 Leay contends th MatI's motion is frught with mirepresentaons, parcully with
     21 respet to production of             Leahy's planer and counsel's conduct durg th deposition. Ley

     22 fuer contends tha MattI caot eslish the resite good cause to justfy aditional
     23 deposition tie becuse MaeI's counsel made'poor decisions about how to use the allottd tie,
     24 and wated tie with impropely-phred and reundant questions. Ley also contends that the
     25 factors set fort in Rule 26(b)(2)(C), Fed.R.Civ.P., al weigh agnst alowing additional

     26 deposition tie. Leay also contends that the ver limite inces of inctions not to aner

     27 were proper and, in any event, did not prelude MattI from obtag relevant inormation.
     28                                                                                                                       2
             Bryan". Ma Jic~
             CV-09 SOL(Rlt
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 38 of 63 Page ID
                                 #:154331




           Lay, Leahy contends that to th extent Mati needs to ask her additional queons, Matti may
     2 do so at tral.
     3 Rule 30(dXI), FedRCiv.P., provides tht                                "a cour mus allow additiona tie consistent

     4 with Rule 26(b)(2) if neeed to faily exae the depnen or if the deponent, another person, or
      5 any other circumstce impees or delays the examtion." In th Ca, Mai ba faied to

      6 establi the reuisite good caus to jus addion deposition tie. Leahy is a key witness in

      7 the ca. However, Matrs counel depsed Ley for seven hour and five miut, dur

      8 which comil quesoned Ley extensively regardi her persona knowledge of fac relevant
      9 to th lawst
     10 Furer, notwthstding Maers assertons to the contr, Leay's puredly belat
     11 docient production did not substatialy impede the deposition. Ley produced her origial
     12 planer at her deposition, and MaI wa able to queston Leahy regarding specific entres in her
     13 planer. The 174 photogrhs produced coisted of photogrphs taen by Ley's counsel                              of    the

     14 theedienion objects th ba aleay been produce in the cae. Ley's counel explains

     15 that prior to the deposition, he and MatI's counel ageed tht he would tae photogrphs of                          the

     16 thee-densional objects and apply Bates numbers to the photogrhs so tht the pares would

     17 have a mean of identifyg by Bat nuiber each thee-dimenona object discused durg the
     18     deposition.

     19               Furermore, neiter Leahy's, MGA's, nor Bryant's counel obstcted the deposition. The

     20     trcrpt reveas th overall, the depsition proeded in an ordrly maner in accordace with

     21     th Federa Rules of Civil Prour. Matrs accmit of the conduct of Leahy's, MGA's and -,

     22     Bryant's counel is highy exagerated, and Matei's crticisms ar largely unjused. MateI ..
     23     points to thee ince where Leahy's counsel purortdly gave improper inctions not to

     24     aner. Speifcay, counel incted Ley not to anwer the following questions: (1) "Was

     25     he a lawyer that you found or th M.G.A found?" (p. 243 :2-3); (2) "Did you midersd that you

     76     should be presering docuents or inormaton about th lawsut back in't Mayor June 2004

     27     tie period?" (pp. 255:24-256:1); (3) "As you sit here noW, do you undestand th you have an
     28
            Bryt v. Ma In..
            CV.04.0!:049 SOL (Ric
Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 39 of 63 Page ID
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          obligation to prerve documents or informtion th pert to the lawsuit?" (p.257:11-13).
     2 Although counel's inctons not to anr were imprope, they did not maenaly afect

     3 Mal's abilty to elicit relevant inonnaton frm Ley.
     4 Furerore, additiona desition time is unwarte tag into considertion all of
                                                                                                                  the

     5 facrs set fort in Rule 26(bX2)(C), FedR.Civ.P. Ma qustoned Leahy over1he coure ofa

     6 7-hour depsition, durng which MaI had ample oppoty to obta relevant information.
     7 Furerore, MattI ha aly taken and reived extensive discovery regardig the origi and

    . 8 development of Bratz frm virly every conceivale source. Additiona deposition time with

      9 Leahy is likely to resut in duplicatve and cumulative diovery and subject Ley to undue

     10 burden.

     11 Accordgly, MatI's motion for additiona tie to depose Ley is denied. MatteI's
     12 request for sactons is dened. Pur to Pargraph 6 of                         the Stipulaton and Order for


     13 Appointment of a Discovery Master, Matei sha me ths Order with the Clerk of Cour fortwith
     14

     15     Date: Apri~ 2008

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             Bry v. Mi. hie..
             CV 41.099 SGL (R)
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                                 #:154333




                                         PROOF OF SERVICE BY E-MA

            1, Sandr Ch not a par to the with acon, hereby decla that on April 28, 2008. I served the
    attched ORDER ENG MATT'S MOTION TO COMPEL FUTIR DEPOSmON OF MAGAR
    HATCH-LEAH; DENG REUEST FOR SANCTIONS in the within action by email addssed as
    follows:
    John W. Keker, Esq.             Keker & Van Nest                           jkeker~.com
    Michael H. Page, Es.            Keker & Van Nes                            mhp~.com
    Christa Anderson, Esq.          Keker & Van Nes                            cma~.com
    Mattew M. Werar, Esq.           Keker & Van Nest                           mwrdegartkv.com
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     -'lane Hutnyan, Esq.           Quinn, Emanuel, Urquhart Oliver & Hedges dlanehutvan(dgulnnemnuel. com
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     Hamet S. Posner, Esq.          Skadden, Arp, Slate, Meaher & Rom LLP      hposner~skadden.com
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     nmothy A. Miler, Esq.          Skadden, Arps, Slate, Meagher & FIm LLP    tmile~dden.com
     Marcs R. Mumford, Esq.         Skadden, Ar, Slate, Meagher & FIm LLP      Mi:umford~adden.com
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     Lance A. Etcheverr, Esq.       Skadden, Arp, Slate, Meagher &Aom LLP      Lanc.e~hever~skadden.com
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     Larr W. McFai1nd               Keats, Mcfarland & Wilson                   Imcrland(Qkmwlaw.com
     Chnstln Dowell                  Keats, McFanand & Wilson                   cdowel1~kmwiaw.com


               I declare under penaty of perjur under the laws of the Untied Staes of Amerca th the above is tr
     and corrct.

               Exec on Ap




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                                 28, 2008, at San Fra, ~O~~/7 .

                                                   / Sandr Ch "
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                                EXHIBIT F
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                                  #:154335
                                                                             1




      1                       UNITED STATES DISTRICT COURT

      2                      CENTRAL DISTRICT OF CALIFORNIA

      3                             EASTERN DIVISION

      4


      5              HONORABLE STEPHEN G. LARSON, JUDGE PRESIDING

       6


      7    MATTEL, INC.,
       8                          Plainti ff,
       9               vs.                           No. CV 04 - 09049

      10 MGA ENTERTAINMENT, INC., ET. AL.,

      11 Defendants.                                 Motions
      12 AND CONSOLIDATED ACTIONS,

      13

      14

      15                   REPORTER'S TRANSCRIPT OF PROCEEDINGS

      16                          Riverside, Cali fornia
      17                       Wednesday, February 11, 2009

      18                                10:03 A.M.

      19

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      21

      22

      23 THERESA A. LANZA, RPR, CSR
                  Federal Official Court Reporter
      24 3470 12th Street, Rm. 134
                               Riverside, California 92501
      25 951-274-0844              WWW.THERESALANZA.COM



~dnesday, February 11, 2009 Mattel vs. MGA Entertainmei
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                                   #:154336
                                                                              2



        1 APPEARANCES:

        2 ON BEHALF OF MATTEL, INC.:

        3                         QUINN EMANUEL
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        4                              DYLAN PROCTOR
                                       MICHAEL T. ZELLER
        5                         865 S. FIGUEROA STREET,
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        6                         LOS ANGELES, California 90017
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        8 ON BEHALF OF MGA ENTERTAINMENT/ISAAC LARIAN:
            (Outgoing)
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                                  BY: THOMAS J. NOLAN
       10 JASON RUSSELL           300 SOUTH GRAND AVENUE
       11 LOS ANGELES, CALIFORNIA 90071 -3 144
                                  213-687-5000
       12

       13 ON BEHALF OF MGA ENTERTAINMENT/ISAAC LARIAN:
            ( Incoming)
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       20
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                                  Los Angeles, California 90071
       24                         213-613-4660
       25 / / /


~dnesday, February 11, 2009                              Mattel vs. MGA Entertainmei
  Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 44 of 63 Page ID
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                                                                              3



        1                         I N D E X (Continued)

        2

        3 APPEARANCES (continued):

        4
            On behalf of OMNI 808:
        5

        6                         BINGHAM McCUTCHEN LLP
                                  BY: Todd E. Gordinier
        7                         600 Anton Boulevard
                                  Costa Mesa, CA 92626-1924
        8                         714-830-0622
        9


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,dnesday, February 11, 2009                               Mattel vs. MGA Entertainmei
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                                                                              98



        1 discovery, let's let Mr. Durkin handle this. And that's what

        2 he's talking about.

        3 There may be other issues, but a major component
        4 and I would not want Your Honor to paint with too broad a

        5   brush -- it is MGA' s position as to Phase 1 recei ver-rela ted         02: 38



        6 issues, that Your Honor appropriately, at our request, took out

        7 of discovery the financial discovery issues.

        8             THE COURT:     Mr. Durkin is acting at the Court's

        9   direction to inform the Court of information.     I mayor may not

       10   release any of the information that Mr. Durkin provides; so no          02: 38



       11 one, neither side, should be relying upon the information that

       12 Mr. Durkin is gathering for purposes of litigating this case.
       13 That's an entirely separate matter. And I have not stayed any

       14 discovery, and there should be no rel iance on that.
       15              If that was misunderstood, it's clarified now.               02: 39



       16             MR. RUSSELL:     Just so I can make sure I'm clear, Your

       17 Honor, because I really, since we were the ones at the hearing
       18 when this was discussed, and we asked Your Honor for this

       19 precise relief, which is to say the financial discovery, the

       20 al lega tions against Omni and IGWT and the li ke, and I thought I 02: 39

       21 heard Your Honor to say that it made sense for Mr. Durkin to

       22 get to the base of it. And if, then, there were any merit to

       23 it, we could allow this discovery to go forward.

       24              THE COURT: Wait a second.
       25              You're adding something in there.    I didn't say            02: 39




~dnesday, February 11, 2009                              Mattel vs. MGA Entertainmei
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        1 anything about discovery not going forth. I have not ruled on

        2 any discovery issues. I ruled on the ex-parte application for
        3 the appointment of the receiver that before I ruled on that,

        4   that I wanted to have Mr. Durkin's report.       That's exactly what

        5   I'm doing.    I took an interim report last night.      I'll await          02: 39



        6   the final report.     But that's for the Court's purposes.

        7 Depending on how the receivership issue plays out, it
        8 mayor may not be released to some or all of the attorneys. It

        9 may very well be that at the end of the day, after my final

       10   meeting with Mr. Durkin, that it never reaches the light of                 02: 0


       11 day.
       12                MR. RUSSELL:    Just so we're clear, Your Honor, MatteI

       13 attached the very discovery they are now promulgating to other
       14 parties to their receiver application and asked for leave to

       15   serve it.     Your Honor did not grant that leave.     And then what        02: 0


       16 happened was they said, Well, we can i t go down this avenue,
       17 we'll launch a series of subpoenas.

       18                THE COURT:     Then the question becomes -- and this is

       19 a question for the Discovery Master, not for this Court --
       20   whether or not the discovery is related to Phase 2.          If it is,      02: 0


       21   it is.   I i m not going to pass any judgment whatsoever.       I'm

       22 going to leave that completely up to the Discovery Master.

       23                MR. RUSSELL:     That's all we're asking for.    Rather
       24 than painting with a broad brush, saying all discovery is
       25   permitted, there's some discovery that does fall within the                  02: 40




,dnesday, February 11, 2009                                 Ma t tel vs. MGA En tertainmer
  Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 47 of 63 Page ID
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        1      scope of what Your Honor refused to give them.         Let's let the

        2      discovery master rule on it.         It can always come back to you.

        3                    THE COURT:     Okay.

        4 But I guess, Mr. Russeii, I'm not sure of the
        5 characterization that you i re making. 02: 41
        6 I handled the receivership application and request
        7 made thereunder          in the way that I'm handling the receivership

        8 application; that should not be taken one way or the other as a

        9 discovery ruling.

       10                    MR. RUSSELL:     I guess, Your Honor, the question is if 02:41

       11 there was, as part of that application, and there's an
       12 assumption built in that we'd like to have the Discovery Master

       13 resolve, is it j ust receiver discovery or is it Phase 2 ? That

       14       seems like a question that Mr. 0' Bryan should answer.       But I
       15       assume, since you don't have any of the briefs and you don't           02: 41



       16 have the discovery and this has just been dropped on you,

       i 7 assume for the sake of this discussion, that it is solely
       i 8 related to the receiver; that it is, as we pause it, identical

       i 9 to the discovery submitted.

       20                     THE COURT:    I guess where I would distinguish,         02: 41



       2 i counsel, is this notion of receiver discovery, or that phrase,

        22      tha t 's not a phrase the Court has used.      Not that I can recall

        23      using.      I f I did, I certainly did not intend to.    I'm not

        24 designating that as a separate and severable part of the
        25       discovery.                                                             02: 42




:dnesday, February 1 i, 2009                                    Mattel vs. MGA Entertainmei
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                                                                            ios

        1 we'll go from there.

        2              MR. ZELLER: Thank you.
        3              THE COURT: Anything further?

        4              Thank you. Good day.

        5

        6

        7


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       10                               CERTIFICATE

       11

       12 I hereby certify that pursuant to section 753, title 2 B, United
           States Code, the foregoing is a true and correct transcript of
       13 the stenographically recorded proceedings held in the above-
             enti tled matter and that the transcript page format is in
       14 conformance with the regulations of the Judicial Conference of
             the United States.
       15

       16
             THERESA A. LANZA, CSR, RPR                         Date
       17    Federal Official Court Reporter

       1 B



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~dnesday, February 11, 2009                             Mattel vs. MGA Entertainmei
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                               EXHIBIT G
                                                                                      .
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                  8                            UNITED STATES DISTRICT COURT
                  9                        CENTRA DISTRICT OF CALIFORNA
                10                                  EASTERN DIVISION
                11

                12 MATTEL, INC.,                             CASE NO. CV 04-9049 SGL (RNx)
                13                Plaintiff,                 Consolidated with
                                                             Case No. CV 04-09059 SGL (RNx)
                14          vs.                              Case No. CV 05-02727 SGL (RNx)
                15 MGA ENTERTAINNT, INC., et al., Honorable Stephen G. Larson
                16                Defendant.                 PHASE B VERDICT FORM AS
                                                             GIVEN
                17
                        AND CONSOLIDATED ACTIONS
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                 1                                                 VERDICT FORM - PHASE B
                2                We answer the questions submitted to us as follows:
                3

                4                                                 I. Damages for Phase A Claims

                 5                                         (Answer all four questions in this section.)
                6
                 7                                Intentional Interference With Contractual Relations
                 8 1. In Phase A of this trial, you found that MGA Entertinment, Inc.

                 9 ("MGA") and Isaac Larian are liable to MatteI for intentional interference with
               10 contractual relations. What amount of damages, if any, should be awarded to

               11 MatteI?

               12                            As    to MGA: $                       ;;0 J1JLi.IO";

               13                            As to Mr. Larian: $                    Jt) MiiLJO~
               14

               15 Aidine and Abetting Breach of Fiduciary Duty
               16 2. In Phase A of                                    this trial, you found that MGA and Isaac Larian are liable
               17 to MatteI for aiding and abetting Carter Bryant's breach of fiduciary duty. What
                18 amount of damages, if any, should be awarded to MatteI?
                19 As to MGA: $;)0 ¡v/LL.1orJ
               20 As to Mr. Larian: $ J 0 J1 ,ILi) l)"A
               21

               22 Aiding and Abettine Breach of the Duty of Loyalty
               23 3. In Phase A of                                     this trial, you found that MGA and Isaac Larian are liable
               24 to MatteI for aiding and abetting Carter Bryant's breach of                         the duty ofloyalty. What
                25 amount of damages, if ány, should be awarded to MatteI?
                26 As to MGA: $ (iO M J L L ) D ~
                27 As to Mr. Larian: $ JOn J LL. J 0 1J
                28

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                                                                                                    PHASE B VERDICT FORM AS GIVEN
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                 1                                   Conversion
                 2 4. In Phase A of this trial, you found that MGA, Isaac Larian and MGA

                 3 Entertainment (HK) Limited ("MGA Hong Kong") are liable to MatteI for
                 4 conversion. What amount of damages, if any, should be awarded to MatteI?
                 5 As to MGA: $ 3 I) 5'60 liliS 7 i IrJí~/!s-r
                 6 As to Mr. Larian: $ ~ t1lL~lAL4 ítv F r¿1J/1

                 8 p ~PE/? ('1 u) ft 5
                 7 As to MGA Hong Kong: $ .Ø 'Írli. PRJ£' I1Ii(i¿'J

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                                                                         PHASE B VERDICT FORM AS GIVEN
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                 1 II. Copyrie:ht Infringement
                 2 5. Has MatteI proven by a preponderance of                           the evidence that MGA is
                 3 liable to MatteI for copyright infringement?

                 4 )res ~
                 5 No
                 6 If                   your answer is "yes," then answer Question 6.
                 7 If                   your answer is "no," then answer Question 7.
                 8

                 9                6.          Was MGA's copyright infringement wilful?
                10                            )res
                11                           No            x
                12                Answer Question 7.
                13

                14 7. Has MatteI proven by a preponderance of the evidence that Isaac Larian

                15 is liable to MatteI for copyright infringement?
                16 )res -A
                17 No
                18 If your answer is "yes," then answer Question 8.
                19 If your answer is. "no," then answer Question 9.
                20
                21                 8.         Was Mr. Larian's copyright infringement wilful?
                22                            Yes
                23                            No           x
                24                 Answer Question 9.
                25
                26 9. Has MatteI proven by a preponderance of                           the evidence that MGA Hong
                27 Kong is liable to MatteI for copyright infringement?
                28 )res /l
07209/2609529.2608584                                                    -4-
                                                                                         PHASE B VERDICT FORM AS GIVEN
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                 1 No
                2 If       your answer is "yes," then answer Question 10.
                3 If your answer is "no," then answer Question 1 1.

                4
                 5 10. Was MGA Hong Kong's copyright infringement wilful?
                 6 )Tes
                 7 No X
                 8 Answer Question 1 1.
                 9
               10 11. What amount of damages, if any, should be awarded to MatteI for the

               1 1 defendants' copyright infringement?
               12        (a)   Copyright Infringement by MGA
               13              $ 6 M"" j(),J
               14        (b)   Copyright Infringement by Isaac Larian
               15              Distributions Mr. Larian received from MGA attributable to Bratz-
                16             related works:
                17             $ 3 M; / 1 J" () ,J
                18             Value of   Mr. Larian's ownership percentage ofMGA attributable to
                19
               20
               21        (c)
                               $k
                               Bratz-related works:


                               Copyright Infringement by MGA Hong Kong:
               22               $ I M; il,'orJ
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                                                                            PHASE B VERDICT FORM AS GIVEN
      Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 55 of 63 Page ID
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                 1 III. Punitive Damages
                2 12. Has MatteI proven by clear and convincing evidence that MGA acted



                45 )res
                 3 with malice, oppression, or fraud?




                    No X
                 6 If your answer is "yes, II then answer Question 13.

                 7 If                  your answer is."no,1I then answer Question 14.

                 8

                 9 13.                     What amount of punitive damages, if any, should be awarded against
               10 MGA?
               11                          $           -e
               12                Answer Question 14.
               13

               14 14. Has MatteI proven by clear and convincing evidence that Isaac Larian

                15 acted with malice, oppression, or fraud?
                16 )res
                17 No X
                18 If your answer is "yes," then answer Question 15.
                19 If your answer is IIno, II then answer Question 16.
               20
               21 15. What amount of                        punitive damages, ifany, should be awarded against
                22 Mr. Larian?

                23 $
                24 Answer Question 16.
                                                      ft
                25

                26 16. Has MatteI proven by clear and convincing evidence that MGA Hong

                27 Kong acted with malice, oppression, or fraud?
                28 )res
0720912609529.2608584                                                   -6-
                                                                                        PHASE B VERDICT FORM AS GIVEN
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                 1                No ~
                 2       If your answer is "yes, II then answer Question 17.
                 3       If   your answer is "no," then answer Question 18.
                 4
                 5 17. What amount of punitive damages, if any, should be awarded against

                 6 MGA Hong Kong?
                 7 $
                 8 Answer Question 18.
                                                -&
                 9
               10

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                                                                               PHASE B VERDICT FORM AS GIVEN
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                                        #:154350
                C se 2:04-cv-09049-SGL-RNB Document 4279 Filed 08/26/2008 Page 8 of 9


                1                                                  iv. Fraudulent Concealment

                2                                             (Answer all five questions in this section.)
                3

                4 18. Has MatteI proven by a preponderance of
                                                                                                 the evidence that MGA
                5 fraudulently concealed the bases for MatteI's claim of intentional interference with
                6 contract against it until at least April                    27, 20027
                7 Yes L
                 8 No
                 9

               10 19. Has MatteI proven by a preponderance of the evidence that Isaac Larian

               11 fraudulently concealed the bases for MatteI's claim of intentional interference with
               12 contract against him until at least April                      27, 20027
               13 Yes
               14 No L
               15

               16 20. Has MatteI proven by a preponderance of
                                                                                                 the evidence that MGA
               17 fraudulently concealed the bases for MatteI's claim of conversion against it until at
               18 least April 27, 20017
                19 Yes X
               20 No
               21

               22 21. Has MatteI proven by a preponderance of the evidence that Mr. Larian

               23 fraudulently concealed the bases for MatteI's claim of conversion against him until
               24 at least April 27, 20017.
                25 Yes
                26 No ~
                27
                28

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                                                                                                   PHASE B VERDICT FORM AS GIVEN
        Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 58 of 63 Page ID
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                  1 22. Has MatteI proven by a preponderance of                                             the evidence that MGA Hong
                 2 Kong fraudulently concealed the bases for MatteI's claim of conversion against it
                 3 until at least April 27, 2001?

                 4                            Yes
                 5                            No X
                 6
                 7                 Once this verdict-form is completed, the foreperson of                               the jury should sign
                  8 and date on the lines below.
                 9                                                                           I i.
                                                                                             I., ... ,,(.. . ,(51'                _.:...


                10      DATED: 1/~:i'..20Ó~                                                 l.1Y -- -... '. ~ - , . .
                                                                    J                         Jury F'eperson                 (f
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Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 59 of 63 Page ID
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                                EXHIBIT H
   Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 60 of 63 Page ID
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        . Fchniry 9, 2009


          VIA F,4(.SlMJAN U.S. MAIl.

          Aman Khan, Esq.
          Glaser. Weil, Fink, Jacobs & Shapiro LLP
          i 0250 CoristellaLion Boulevar, 19th Floor
         . Los Angeles, CA 90061                                                                                                                                           .i



          Re: MateI Vi MOAUgtertaincnt, Inc., eL al,

          Dea Am:
          I write in fuenice of our ongoing meet à1d confer regading varîou.~ Phase 2 discovery issues
          and to coniinn severa issues frm tody's conference.
          First, wÌlh regar to Matters renewed motion to compel, we recived your proposed stpulation
          which confirmed MGA's agreemenL to produce doewnents Iûpomlive lo MatteI's Reqest No.
          48 (lSl Set) and Reques Nos. 43-75 (3rd seL). However, before MatteI would.be wiling to take
           its muLion off-ealendar, we mwil bave a respnse to whr;tlet MGA will ag to prouce
           personnel un vendor fies rcspcmsive In Request Nos. 87 and 88 (3rd SOl) ur wil contiue to
          object on Lhe grunds of th party privacy. At) I previously lndjcacdt tho Discnvery Masr has
          oyerruled such objections On mullple occasions bese of the pmtective order provides
           adequat privacy protection.

           As you indicated that you were stl discusslng ths issue with yuur cli~t. I ageed to give you an
           extra day to CCtnfirm whether MGA wil also agree to produce all non~privilegcd documenLs
           responsive to Request Nos. 81 and SIt

           ~d, you confirmed tht MOAn de Mexico wouM, like MGA, respond to MatteI's
           Interrogatories No. 41 hy March 9. 2008;



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                                     Nii'" YUU i ii Ma.ii..." A"flue. :und Floor. N.'W V..rk, New York ioom I Till '11-S-l9-700 PAX 112. a~~'7IU()

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09-Feb-2009 09: 46 PM Quinn Emanuel 2134433100




         Third, you inicatcd tht MGA would not agree to mae Run 'Brawer avaiable for furer
         depoi.itìon on Phase 2 matters. As I previously explained Mr. Rrawer is ft key witness at the
         core of Matti's Pha.ei 2 allegations. Becaus his deposition was never complcted and because

          continue desiton of Mr. Brawer. '
          of his cntical Sllus in Pha 2, MatteI wil sek an order from the cour compelling the


          Fourh. you agrd tht MGA and Isaa Lar would produce all post-2005 communications
          between   Mr. Lanan and MatteI employees byMah 9, 2009.

        . fi regaring Matte1's 30(b)(6) deposition noticcs of MGAR de Mexico and MGA you
          indcat that in orde tu c1lemine whch employee should be deignat and their dates of
          availabilty you neeed additional time to disuss the speifc topic.'l with your client. Please
          pmvide'us this inormaon by Wl'ne!lùay, Februar 11,2009.

          ~ regarding MGA'I) supplementa document productiun or f'nç¡cial inormation, as require
          by thc Discovery Master's pnor Orders of December 28 and 31, 2007,'you again indicated that
          you need .additional time to consider MGA's pl)!iitiön. Also, as my prior letter mistakenly
          referenced Request No. 209 rather than No. 269, T am athig, for your convcnienc~ a copy or
          Requet No. 269. Pleasc be in a position to provide 'us with MONs and Larùrls !Kii:;tion by
          Wednesay, Fcbrary 11,2009. . .
           Seventh. regarding Mattcl's depoiiition notices to Mr. Vargas, Ms. Troeba and Ms. Salemnia,
           you previously indicated that MOA W'dS nQ longer objectig on thc grunds of that all Phuse 2
           depositions to be compleied hy the end of Januay 2008 and had agreed to provide amended
           objections reflecting the withdrawal of this objection. We have not yctrecivtI MOA' s amended
           objectons. Please provide them 10 us by Wednesday, Februar 11.2009.

           Wgh~ in response to Maltel's request !òr Ms. Salcinnia's Iå.'ll known addrs, you stated tht.
           you were nol aulhori:t.. 1.0 disclose this infonnation. .
           'Aei.1: regars,

           ~~-~~\-
           .' \ ....
           \J
           Jon n. Corey
            Rnclosures




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                Case 2:04-cv-09049-DOC-RNB Document 4870-2 Filed 02/18/09 Page 62 of 63 Page ID
                                                 #:154355

                                                                 PROOF OF SERVICE

                      2 STATE OF CALIFORNIA

                      3 COUNTY OF LOS ANGELES
                      4 I am employed in the County of Los Angeles, State of California; I am over the age of 18
                         and not a party to the within action; my business address is 10250 Constellation Boulevard,
                      5 Nineteenth Floor, Los Angeles, California 90067.

                      6 On February 18,2009, I served the foregoing document described as:

                       7 DECLARATION OF AMMAN KHAN IN SUPPORT OF MGA AND LARIAN'S
                          OPPOSITION TO MATTEL'S 2/10/09 MOTION TO COMPEL RESPONSES
                       8 TO INTERROGATORIES AND PRODUCTION OF DOCUMENTS
                       9 on the interested parties to this action by placing a copy thereof enclosed in a sealed envelope
   n.
   ..                     addressed as follows:
   ..                10
   o
   æ
                                                      PLEASE SEE ATTACHED SERVICE LIST
   .-0( ~ '"          1I
   i: 0( ~
   IJ ~ a
                      12
                              0           (BY MAIL) I am readily familiar with the business practice for collection and
                                          processing of correspondence for mailing with the United States Postal Service.
   iö ~ I: :
          o0-
II ti lD 0 Z                              This correspondence shall be deposited with the United States Postal Service this
~ ~ ~ ~ ~
¡; v;: -              13                  same day in the ordinary course of business at our Firm's offce address in Los
"o i. ~.                                  Angeles, California. Service made pursuant to this paragraph, upon motion of a
 ~ ..
0( =i ~               14                  party served, shall be presumed invalid if the postal cancellation date of postage
" Z- 0,                                   meter date on the envelope is more than one day after the date of deposit for
   LL u

   .J. 0
      .               15                  mailing contained in this affdavit.
   _ N
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   æ
                      16      0           (BY OVERNIGHT DELIVERY SERVICE) I served the foregoing document by
                                          Federal Express, an express service carrier which provides overnight delivery, as
    ~
   ~
    ..J               i7                  follows. I placed true copies of the foregoing document in sealed envelopes or
   "                                      packages designated by the express service carrier, addressed to each interested
                      i8                  party as set forth above, with fees for overnight delivery paid or provided for.

                      19      0           (BY PERSONAL SERVICE) I caused such envelope to be delivered by hand to
                                          the offices of the above named addressee.
                      20
                              00          (BY EMAIL) I caused such documents to be delivered via email to the
                      21                  addressee( s).

                      22      0           (BY FACSIMILE) I caused such documents to be delivered via facsimile to the
                                          offces of the addressee(s) at the following facsimile number:
                      23
                                   Executed this 18!h day of February, 2009, at Los Angeles, California.
                      24
                                 I declare under penalty of perjury under the laws of the State of California that the above is
                      25 true and correct.
                      26
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